          Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 1 of 10




 1   Melinda M. Morton (Bar No. 209373)
     E-mail: mindy.morton@procopio.com
 2   Jacob K. Poorman (Bar No. 262261)
     E-mail: jacob.Poorman@procopio.com
 3   PROCOPIO, CORY, HARGREAVES &
         SAVITCH LLP
 4   3000 El Camino Real
     Suite 5-400
 5   Palo Alto, CA 94306
     Telephone: 650.645.9000
 6   Facsimile: 619.235.0398

 7   Attorney for Plaintiff
     APEX.AI, INC.
 8
                                   UNITED STATES DISTRICT COURT
 9
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
     APEX.AI, INC.,                                  Case No. 5:23-cv-02230-BLF
11
                    Plaintiff,                       CERTIFICATE OF SERVICE
12
     v.
13
     NEIL RICHARD LANGMEAD, AN
14   INDIVIDUAL; VERIFA, INC., A
     MASSACHUSETTS CORPORATION;
15   CODECLINIC, LLC DBA LATTIX, A
     MASSACHUSETTS LIMITED LIABILITY
16   COMPANY; AND DOES 1-20,

17                  Defendants.

18

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                                                1
                                      CERTIFICATE OF SERVICE
           Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 2 of 10




 1                                     CERTIFICATE OF SERVICE
 2           I am a resident of the State of California, over the age of eighteen years, and not a party to
     the within action. My business address is PROCOPIO, CORY, HARGREAVES & SAVITCH LLP,
 3
     525 B Street, Suite 2200, San Diego, California 92101.
 4          On May 11, 2023, Fua Akeli served the following documents (see attached Certificate
     of Service):
 5
      1.     Apex.AI, Inc.’s Complaint;
 6
      2.     Exhibits A-D to Complaint;
 7
      3.     Civil Cover Sheet;
 8
      4.     Proposed Summons;
 9
      5.     Corporate Disclosure Statement;
10
      6.     Administrative Motion to File Portions of its Memorandum in Support of its Ex Parte
11
             Application for a Temporary Restraining Order and Declarations in Support Thereof Under
12
             Seal;
13
      7.     Declaration of Dejan Pangercic in Support of Administrative Motion to File Portions Under
14
             Seal;
15
      8.     Proposed Order Granting Administrative Motion to File Portions Under Seal;
16
      9.     Apex Ex Parte Application for TRO and OSC;
17
      10.    [Redacted] Declaration of Dejan Pangercic in Support of Application for TRO and OSC;
18
      11.    Exhibits A-E in Support of Declaration of Dejan Pangercic in Support of Application for
19
             TRO and OSC;
20
      12.    [Redacted] Declaration of Dmytro Tutynin in Support of Ex Parte Application for TRO and
21
             OSC;
22
      13.    [Redacted] Exhibits A-F in Support of Declaration of Dmytro Tutynin in Support of Ex Parte
23
             Application for TRO and OSC;
24
      14.     [Redacted] Memorandum of Points and Authorities in Support of Ex Parte Application for
25
             TRO and OSC;
26
      15.    Declaration of Melinda Morton in Support of Ex Parte Application for TRO and OSC and
27
             Exhibit A;
28
                                                  2
                                        CERTIFICATE OF SERVICE
           Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 3 of 10




 1    16.    [Redacted] Exhibits A-F in Support of Declaration of Dmytro Tutynin in Support of Ex Parte

 2           Application for TRO and OSC;

 3    17.    Proposed Order Granting Application for TRO and OSC;

 4    18.    Apex Consent or Declination to Magistrate Judge Jurisdiction;

 5    19.    Clerk’s Notice of Impending Reassignment to a U.S. District Judge;

 6    20.    Order Reassigning Case to Judge;

 7    21.    Notice of Eligibility for Video Recording;

 8    22.    Initial Case Management Scheduling Order and ADR Deadlines.

 9          On May 12, 2023, Jacob K. Poorman served the following documents (see attached
     Email from Jacob K. Poorman to Thomas G. Pasternak):
10
      1.     Summons in a Civil Action
11
      2.     Order Reassigning Case
12
      3.     Standing Order Re Civil Cases Judge Beth Labsen Freeman
13
      4.     Notice of Eligibility for Video Recording
14
      5.     Contents of Joint Case Management Statement
15
      6.     Standing Order Re Civil Jury Trials Judge Beth Labsen Freeman
16
      ☒       BY ELECTRONIC SERVICE based upon court order or an agreement of the parties to
17            accept service by electronic transmission, by electronically mailing the document(s) listed
              above to the e-mail address(es) set forth below, or as stated on the attached service list
18            and/or by electronically notifying the parties set forth below that the document(s) listed
              above can be located and downloaded from the hyperlink provided.
19
              Thomas G. Pasternak                                Counsel for Defendants
20            AKERMAN LLP
              71 South Wacker Drive, 47th Floor
21            Chicago, IL 60606
22            Tel: 312.634.5700
              Email: thomas.pasternak@akerman.com
23
      ☒       (Federal) I declare that I am employed in the office of a member of the bar of this court
24            at whose direction the service was made.
25
      Executed on May 12, 2023, at San Diego, California.
26

27                                                        /s/ R. Marina Collins
28                                                          R. Marina Collins
                                                 3
                                       CERTIFICATE OF SERVICE
                        Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 4 of 10
Collins, Marina

From:                                        thomas.pasternak@akerman.com
Sent:                                        Thursday, May 11, 2023 1:39 PM
To:                                          Poorman, Jacob K.
Cc:                                          Morton, Mindy; Akeli, Tautalafua M.
Subject:                                     Re: Apex.AI v Langmead -- TRO



                                             * EXTERNAL EMAIL - Please use Caution. *



Yes.

Sent from Akerman



          On May 11, 2023, at 14:47, Poorman, Jacob K. <Jacob.Poorman@procopio.com> wrote:



[External to Akerman]
          Tom,

          Per our call today, can you confirm that you will accept service on behalf of Defendants Neil Langmead,
          Verifa, Inc. and CodeClinic, LLC?


          Thanks,
          Jake

          JACOB K. POORMAN
          SENIOR COUNSEL
          PROCOPIO

          P. 619.525.3811 | F. 619.788.5511 | jacob.poorman@procopio.com
          12544 HIGH BLUFF DRIVE, SUITE 400, SAN DIEGO, CA 92130
          procopio.com



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                                                                                1
                       Case
communication in error and       5:23-cv-02230-BLF
                           then delete it. Thank you.   Document 17 Filed 05/12/23 Page 5 of 10


        From: Poorman, Jacob K.
        Sent: Thursday, May 11, 2023 9:41 AM
        To: 'thomas.pasternak@akerman.com' <thomas.pasternak@akerman.com>
        Cc: Morton, Mindy <mindy.morton@procopio.com>; Akeli, Tautalafua M. <fua.akeli@procopio.com>
        Subject: Apex.AI v Langmead -- TRO

        Tom,

        I assume you have seen the Court’s order granting the TRO, which is attached to this email. Will you
        accept service on behalf of Defendants?


        Thanks,
        Jake

        JACOB K. POORMAN
        SENIOR COUNSEL
        ▬
        P. 619.525.3811 | F. 619.788.5511 | jacob.poorman@procopio.com
        12544 HIGH BLUFF DRIVE, SUITE 400, SAN DIEGO, CA 92130
        procopio.com



        <image001.jpg>



        Thu May 11 2023 12:47:23

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Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 7 of 10
Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 8 of 10
                  Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 9 of 10
Collins, Marina

From:                              Poorman, Jacob K.
Sent:                              Friday, May 12, 2023 3:51 PM
To:                                'thomas.pasternak@akerman.com'; Morton, Mindy
Cc:                                Collins, Marina; Akeli, Tautalafua M.
Subject:                           RE: Terms
Attachments:                       ApexAI v Langmead -- Standing_Order_All_Judges_1.17.23.pdf; ApexAI v Langmead --
                                   BLF-Standing-Order-Re-Civil-Jury-Trials.pdf; ApexAI v Langmead --
                                   BLF_Standing_Order_re_Civil_Cases_2-18-2021.pdf; ApexAI v Langmead -- Order
                                   reassigning case -- Notice of Eligibility for Video Recording.pdf; ApexAI v Langmead --
                                   Order reassigning case.pdf; ApexAI v Langmead -- Summons.pdf


Tom,

We are reviewing your proposal and will get back to you with a more fulsome response, but in the meantime:

    1) Attached are documents related to Apex.AI v Langmead, et al., including the Summons;
    2) Will you agree to abide by the terms of the PTO so we can send you unredacted versions of our filing?
    3) Can you send us your proposed language for the stipulated protective order?




Thanks,
Jake

JACOB K. POORMAN
SENIOR COUNSEL
PROCOPIO

P. 619.525.3811 | F. 619.788.5511 | jacob.poorman@procopio.com
12544 HIGH BLUFF DRIVE, SUITE 400, SAN DIEGO, CA 92130
procopio.com



From: thomas.pasternak@akerman.com <thomas.pasternak@akerman.com>
Sent: Friday, May 12, 2023 12:53 PM
To: Morton, Mindy <mindy.morton@procopio.com>; Poorman, Jacob K. <Jacob.Poorman@procopio.com>
Subject: Terms


                                   * EXTERNAL EMAIL - Please use Caution. *



Dear Mindy:



  Following up on our conversation yesterday, Defendants agree to the following:



                                                             1
                Case 5:23-cv-02230-BLF Document 17 Filed 05/12/23 Page 10 of 10
  1. To convert the TRO order into a stipulated preliminary injunction, with the language of the stipulated
preliminary injunction to be agreed upon. This would do away with the need for a hearing and briefing.



   2. To provide Neil for a deposition on an expedited basis.



   3. To show the code that is in lpdop.com in a screen sharing session and walk you through it.



   4. To return Neil's laptop as soon as possible.



   5. To explore mediation to resolve the case.



   Towards the goal of settling the case Defendants also wanted to make clear:



 1. They have no intention of harming Apex AI, of setting up a competitor, using its IP in any way, or of
moving to China. Their focus is Lattix license sales, not safe software compliance pipelines.



  2. They want to seek a positive relationship once this case is resolved, and are open to a collaboration on
ideas discussed previously.



   Thank you very much and best regards, Thomas Pasternak




Thomas G. Pasternak
Akerman LLP | 71 South Wacker Drive, 47th Floor | Chicago, IL 60606
D: 312 870 8019 | C: 708 209 8749
thomas.pasternak@akerman.com


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                                                                               2
